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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


UNITED STATES OF AMERICA

                Plaintiff,
                                                              CASE NO.: 18 CR 681
        v.
                                                              Hon. Virginia M. Kendall
MICHAEL ABRAMSON,

                Defendant

                DEFENDANT MICHAEL ABRAMSON’S RESPONSE TO
             THE GOVERNMENT’S CONSOLIDATED MOTIONS IN LIMINE

        Defendant Michael Abramson, by and through his counsel, submits this response to the

government’s Consolidated Motions In Limine (ECF No. 50).

                                          INTRODUCTION

        The government’s consolidated motions in limine include the following: (1) a request to

allow the government to recall its case agent during the government’s case-in-chief; (2) notice that

the government will seek to treat Jerilyn Totani as a witness identified with an adverse party, and

therefore, to ask her leading questions during portions of the government’s direct examination;

and (3) a request that missing witness arguments be raised with the Court in advance of making

any such argument. Mr. Abramson does not object to the government’s first request (regarding

the sequence of the case agent’s testimony 1) or its third request (regarding pre-disclosure of any

planned missing witness arguments). With respect to the government’s notice that it will seek to

ask Ms. Totani leading questions during portions of the government’s direct examination, Mr.


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  Although Mr. Abramson does not object to recalling Agent Gibson as a matter of sequence, the
inadmissibility of his anticipated testimony on recall is addressed in his Consolidated Motions in Limine to
Preclude Other Acts Evidence. ECF No. 55. Accordingly, Mr. Abramson will not repeat those arguments
here.


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Abramson objects and requests a pretrial ruling on the government’s proposed plan. Evaluating

the appropriateness of the proposed plan does not depend on any information that is unknown at

this time.

        The government’s request to treat Ms. Totani as a witness identified with an adverse party

is an improper attempt to gain an unwarranted strategic advantage at trial. Although Mr. Abramson

and Ms. Totani have close ties, as the government points out, those ties have not affected Ms.

Totani’s level of cooperation with the government or the government’s ability to fully develop her

testimony. Ms. Totani has cooperated with the government through all phases of its investigation.

She provided documents numerous times and sat for multiple interviews with prosecutors and

agents. The government prepared a lengthy written statement for her to read in the grand jury,

which she dutifully did. She provided the government with information that the government

considers favorable for its case against Mr. Abramson, which is why the government plans to call

her as a witness at trial. In recent weeks, she continued to cooperate with the government through

her counsel by responding to even more document requests. The government immunized Ms.

Totani, conditioned upon her testifying truthfully. The government has not suggested that she will

testify inconsistently with her pre-prepared grand jury statement or violate her immunity

agreement. In short, the government has failed to make any showing that would warrant the Court

departing from the long-standing evidentiary rule disfavoring leading questions on direct

examination.

                                        BACKGROUND

        Ms. Totani has been cooperative with the government’s investigation into Mr. Abramson

since agents arrived at her residence in 2016 with a document subpoena. Ms. Totani compiled and

produced documents in response to the subpoena and, with the assistance of counsel, continued to

search for and provide documents over the following years.


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       In addition to providing documents, Ms. Totani sat down with prosecutors and agents and

willingly submitted to extensive and intrusive questioning into all aspects of her life. The

government interviewed Ms. Totani for approximately seven hours over the course of two sessions

in January 2018. During these interviews, in which Ms. Totani participated pursuant to an

immunity agreement, Ms. Totani answered deeply personal questions about many facets of her

private life, including her sometimes turbulent romantic history, her mental health struggles, her

work as an exotic dancer, her gambling addiction, the death of her father, surgical procedures she

underwent, and her romantic relationship with Mr. Abramson. At the conclusion of the second

interview, Ms. Totani even gave the government her camera and phone, so they could retrieve any

information they wished.

       Ms. Totani then testified before the grand jury in June 2018. In the grand jury, she read a

statement that the government prepared for her. This statement again laid bare aspects of Ms.

Totani’s private life and her relationship with Mr. Abramson. She provided the government with

what it perceives to be favorable testimony, including painstaking details regarding gifts that Mr.

Abramson gave her over the course of their 25-year relationship, and statements suggesting that

she never understood certain payments from Mr. Abramson to be loans. But she also testified that

she legitimately earned the commission payments at issue in this case from Eastern Advisors. 2 As

far as the defense knows, the government never indicated that it believed her testimony violated

her immunity agreement, which was conditioned on her testifying truthfully, nor did the

government obtain any new evidence after Ms. Totani testified in the grand jury that contradicted

her statement. Nonetheless, the government now takes the position that Ms. Totani’s grand jury



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 For additional background, Mr. Abramson incorporates by reference the factual background set forth in
his motions to exclude the testimony of government expert Michael Welch, ECF No. 51 at 2-6, and his
consolidated motions in limine to preclude other acts evidence. ECF No. 55 at 2-5.


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testimony regarding the commission payments “is inconsistent with the government’s evidence.”

ECF No. 50 at 12. Regardless of the government’s current belief regarding the accuracy of Ms.

Totani’s grand jury testimony, the government already knows exactly what Ms. Totani’s trial

testimony will be, assuming she testifies consistently with her grand jury statement, since it

interviewed her at length to develop her grand jury testimony and then prepared her grand jury

statement.

                                      LEGAL STANDARD

       A central tenet of the Federal Rules of Evidence is that “[l]eading questions should not be

used on direct examination except as necessary to develop the witness’s testimony.” Fed. R. Evid.

611(c). This limitation is necessary because “the suggestive powers of the leading question

are…undesirable.” Fed. R. Evid. 611 Advisory Committee’s Note; see also Mendiola v. Schomig,

224 F.3d 589, 593 (7th Cir. 2000) (noting, in a different context, that “[s]ome witnesses fall prey

to influences—perhaps the persuasive influence of a skilled advocate asking leading questions[.]”).

Although Rule 611(c)(2) allows, under certain circumstances, leading questions during the direct

examination of a witness identified with an adverse party, courts have limited their use to instances

in which leading questions are actually necessary to develop the witness’s testimony. See, e.g.,

Dahl v. Hofherr, 3:14-1734-MGG, 2017 WL 6628334, at *7 (N.D. Ind. Mar. 28, 2017) (“Under

Fed. R. Evid. 611(c), leading questions are allowed on cross-examination[ ] and when a party calls

a hostile witness, an adverse party, or a witness identified with an adverse party. Leading questions

should not be used on direct examination except as necessary to develop a witness’s testimony.”)

(internal quotations omitted); United States v. McDonnell, 3:14-CR-12, 2014 WL 3545206, at *1

(E.D. Va. July 16, 2014) (denying government’s motion to permit leading questions during the

direct examination of eight family members identified with defendants “[b]ecause the record does

not demonstrate that these eight witnesses have shown hostility or an uncooperative spirit,” but


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pledging to reconsider the issue at trial “if these witnesses show themselves to be hostile or

uncooperative”). Furthermore, the allowance of leading questions during direct examinations

should be applied with particular caution in criminal cases.        Fed. R. Evid. 611 Advisory

Committee’s Note (cautioning that “it may be difficult in criminal cases to determine when a

witness is ‘identified with an adverse party,’ and thus the rule should be applied with caution”).

       Rule 611(c)(2) is permissive, meaning that the Court may, but need not, allow leading

questions. See Ellis v. City of Chicago, 667 F.2d 606, 613 (7th Cir. 1981) (the use of leading

questions “must be left to the sound discretion of the trial judge who sees the witness and can,

therefore, determine in the interest of truth and justice whether the circumstances justify leading

questions to be propounded to a witness by the party producing them.”) (internal citations omitted);

Fed. R. Evid. 611 Advisory Committee’s Note (“The matter clearly falls within the area of control

by the judge over the mode and order of interrogation and presentation and accordingly is phrased

in words of suggestion rather than command.”).

                                          ARGUMENT

       The government has not provided a valid basis for seeking to utilize the disfavored practice

of asking leading questions during the direct examination of its own witness. Specifically, the

government explained in detail how Ms. Totani was identified with Mr. Abramson (ECF No. 50

at 9-12), but it failed to offer any reason why leading questions will be necessary to develop Ms.

Totani’s testimony at trial. See Fed. R. Evid. 611(c); Dahl, 2017 WL 6628334, at *7 (highlighting

requirement that leading questions should not be used on direct examination except as necessary

to develop the witness’s testimony); McDonnell, 2014 WL 3545206, at *1 (declining to allow

leading questions of family members unless at trial “these witness show themselves to be hostile

or uncooperative.”). Although the government’s argument was vague, it appears the government

will seek permission to ask Ms. Totani leading questions when she testifies about the commission


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payments, even if she testifies consistently with her grand jury statement. ECF No. 50 at 12-13.

Rule 611(c)(2), however, does not contemplate the government being allowed to ask its own

witness leading questions on certain topics merely because the testimony is inconsistent with other

evidence the government offers in its case-in-chief.

       As much as the government may not like the final result, it has to concede that it has had

ample opportunities to fully develop Ms. Totani’s testimony through her extensive pre-trial

cooperation and her immunity agreement with the government. Accordingly, the government’s

stated intention to seek to ask her leading questions on the select portions of her testimony that do

not help the government’s case is nothing more than a request for an unfair strategic advantage. It

is the government’s choice to call Ms. Totani as a witness, and it has to take the good with the bad.

To be able to pick and choose the topics on which the government asks leading questions of a

cooperating witness, based on the government’s assessment of whether the anticipated testimony

supports the government’s case, is an unreasonable and dangerous proposed expansion of Rule

611. Furthermore, the government’s planned method of asking the Court for permission to lead in

the middle of Ms. Totani’s direct examination (especially when the government already knows

what she is going to say) is highly prejudicial and will inaccurately suggest to the jurors that she

is not telling the truth or has unexpectedly changed her position on the stand, especially if the

Court grants the government’s request during her testimony.

       Allowing leading questions during Ms. Totani’s direct examination only would be

appropriate if Ms. Totani began showing hostility toward the government during the examination

or testified inconsistently with her grand jury testimony. See McDonnell, 2014 WL 3545206, at

*1 (pledging to reconsider prohibition on leading questions if witness “hostile or uncooperative”);

St. Clair v. United States, 154 U.S. 134, 150 (1894) (affirming allowance of leading questions, but




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only after, on the stand, “the answers of the witness had taken [the attorney] by surprise”); United

States v. Brown, 603 F.2d 1022, 1026 (1st Cir. 1979) (allowing leading questions of defendant’s

close friend “only after a lengthy direct examination” during which the witness’s testimony was

“replete with lapses of memory . . . [and] he was both evasive and adverse to the government”);

United States v. Dingle, 12-30098, 2014 WL 6812457, at *2 (C.D. Ill. Dec. 3, 2014) (finding that

“the Defendant has a strong argument that the assertions of the parties . . . cannot establish whether

[a witness who had a relationship with the defendant,] is a hostile witness. The Court should

observe the witness before making such a determination.”).

       The government has had every imaginable opportunity to fully develop Ms. Totani’s

testimony. She has been cooperative and helpful to the government in its multi-year investigation

of Mr. Abramson. She has provided documentary evidence, candid insight into her personal life,

and truthful testimony in the grand jury, most of which the government believes is favorable to its

case. Accordingly, since the truth-seeking process strongly favors nonleading questions during

direct examination, especially in criminal cases, the Court should exercise its broad discretion and

issue a pre-trial ruling precluding the government from requesting leading questions in the middle

of Ms. Totani’s direct examination simply because the government believes her testimony about

the commission payments is inconsistent with other evidence the Government will seek to admit.

                                          CONCLUSION

       For the reasons stated above, Mr. Abramson respectfully requests that the Court issue a

pretrial ruling precluding the government’s plan to request to lead Ms. Totani during her direct

examination based on the justifications the government has offered.




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Dated: June 29, 2020                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 29, 2020, I caused the foregoing document to be electronically

filed using the CM/ECF system, which will send notice of this filing to all counsel of record.



                                                     /s/ Valarie Hays
                                                     Valarie Hays




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